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Counsel for the Reorganized Debtor

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    HIGHLAND CAPITAL MANAGEMENT,                                     )    Case No. 19-34054-sgj11
    L.P., 1                                                          )
            Reorganized Debtor.                                      )
                                                                     )

    FIRST NOTICE OF ALLOWED CLAIMS PURSUANT TO THE CONFIRMED FIFTH
          AMENDED PLAN OF REORGANIZATION OF HIGHLAND CAPITAL
                           MANAGEMENT, L.P.

        PLEASE TAKE NOTICE that on February 22, 2021, the United States Bankruptcy Court
for the Northern District of Texas (the “Bankruptcy Court”) entered the Order Confirming the
Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No. 1943]
(the “Confirmation Order”) confirming the Fifth Amended Plan of Reorganization of Highland
Capital Management, L.P. (as Modified) [Docket No. 1808] (as amended, supplemented, or

1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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modified, the “Plan”). Unless otherwise defined in this notice, capitalized terms used in this notice
shall have the meanings ascribed to them in the Plan and the Confirmation Order, as applicable.

      PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
August 11, 2021.

        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a list of
Allowed Claims under the Plan that have not been previously allowed by an order of the
Bankruptcy Court, the class of claims that such claims fall into, and the allowed amount of each
of the claims. The amounts set forth on Exhibit A are the amount contained in the Reorganized
Debtor’s Schedule of Assets and Liabilities filed on December 13, 2019 (Docket No. 247), as
amended on September 22, 2020 (Docket No. 1082), if no proof of claim was filed or the amount
of a proof of claim if a proof of claim was filed. Payment of Allowed Claims will be made in
accordance with the terms of the Plan. 2

       PLEASE TAKE FURTHER NOTICE that the Reorganized Debtor reserves the right to
supplement the list of Allowed Claims as additional claims become Allowed Claims in accordance
with the terms of the Plan.

        PLEASE TAKE FURTHER NOTICE that the Confirmation Order and the Plan are
available for inspection. If you would like to obtain copies you may: (a) access the Reorganized
Debtor’s restructuring website at http://www.kccllc.net/hcmlp; (b) call toll free: (877) 573-3984
or international: (310) 751-1829; or (c) email HighlandInfo@kccllc.com and reference “Highland”
in the subject line. You may also obtain copies of any pleadings filed in this case for a fee via
PACER at: pacer.uscourts.gov.

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2
 The claim of Frank Waterhouse, previously resolved pursuant to that certain Senior Employee Stipulation and Tolling
Agreement Extending Statutes of Limitation dated as of January 20, 2021 [Docket No. 1811-13], is a Disputed Claim
given the filing of the Motion of the Reorganized Debtor to Disallow Claim of Frank Waterhouse Pursuant to
Bankruptcy Code Section 502 [Docket No. 2857].


                                                         2
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 Dated: September 24, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

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                                     -and-

                                     HAYWARD PLLC

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                                     Counsel for the Reorganized Debtor




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Highland Capital Management, L.P.
Allowed Claims [1]

                                                                                                                                                  Distribution       Claim
   Claim No.                               Claimant Name                                                          Transferor                          Class       Amount [2][3]
      243       Oracle America, Inc., Successor in Interest to Sun Microsystems                                                                  Administrative       $15,750.35
      207       Allen ISD                                                                                                                         Priority Tax         $2,507.88
      208       City of Allen                                                                                                                     Priority Tax           $849.08
      209       City of Richardson                                                                                                                Priority Tax         $1,562.90
      211       Dallas County                                                                                                                     Priority Tax        $53,122.71
      210       Kaufman County                                                                                                                    Priority Tax        $23,172.80
       37       Franchise Tax Board                                                                                                               Priority Tax         $3,385.14
       87       Frontier State Bank                                                                                                                     2          $5,209,963.62
        7       Allen ISD                                                                                                                               3              $1,277.05
        8       City of Allen                                                                                                                           3                $428.05
        6       Dallas County                                                                                                                           3             $60,592.37
       35       Collin County Tax Assessor/Collector                                                                                                    3              $1,991.91
       34       Collin County Tax Assessor/Collector                                                                                                    3                $224.24
      N/A       Andrew Parmentier                                                                                                                       4             $13,650.00
        1       CDW                                                                                                                                     4              $2,648.25
       27       Abrams & Bayliss LLP                                                                                                                    7            $107,747.56
      N/A       Akin Gump Strauss Hauer & Feld LLP                                                                                                      7            $113,947.86
      N/A       Alston & Bird LLP                                                                                                                       7              $2,234.00
      N/A       Andrew Parmentier                                                                                                                       7            $136,350.00
      N/A       Argo Partners                                                     Bates White, LLC                                                      7             $90,855.79
      N/A       Argo Partners                                                     ACA Compliance Group                                                  7             $26,324.25
      N/A       Argo Partners                                                     Stanton Advisors LLC                                                  7             $10,000.00
      N/A       ASW Law Limited                                                                                                                         7             $77,044.60
      N/A       AT&T                                                                                                                                    7                $927.16
      N/A       AT&T Mobilty                                                                                                                            7              $6,728.59
      167       Bell Nunnally and Martin, LP                                                                                                            7            $138,869.00
      164       Berkeley Research Group, LLC                                                                                                            7            $242,820.61
      N/A       Bloomberg Finance LP                                                                                                                    7             $25,384.89
      N/A       Boies, Schiller & Flexner LLP                                                                                                           7            $115,714.80
      N/A       Brandywine Process Servers, Ltd.                                                                                                        7                 $69.00
      N/A       Caledonian Directors Limited                                                                                                            7                $325.00
      N/A       Canteen Vending Services                                                                                                                7              $4,233.60
      N/A       Carey Olsen                                                                                                                             7             $38,930.00
      N/A       Case Anywhere LLC                                                                                                                       7                $417.20
      163       Cedar Glade LP                                                    Stanton Law Firm PC                                                   7             $88,133.99
       26       Cedar Glade LP                                                    Katten Muchin Rosenman LLP                                            7             $16,695.00
      N/A       Centroid                                                                                                                                7              $1,155.00
      N/A       CHASE COURIERS, INC                                                                                                                     7                $155.81
      N/A       Cole Schotz                                                                                                                             7            $198,760.29
       13       Coleman Research Group, Inc.                                                                                                            7             $52,500.00
      N/A       Concur Technologies, Inc.                                                                                                               7              $4,090.46
       97       Contrarian Funds, LLC                                             Debevoise and Plimpton LLP                                            7            $268,095.08
      N/A       CSI Global Deposition Services                                                                                                          7                $826.01
      N/A       CT Corp                                                                                                                                 7                $515.25


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Highland Capital Management, L.P.
Allowed Claims [1]

                                                                                                                                                                     Distribution      Claim
   Claim No.                                Claimant Name                                                             Transferor                                         Class      Amount [2][3]
       17       Dell Financial Services L.L.C.                                                                                                                             7             $6,486.12
      N/A       Dow Jones & Company, Inc.                                                                                                                                  7             $1,038.26
      N/A       DTCC ITP LLC                                                                                                                                               7                 $3.30
      193       Duff & Phelps, LLP                                                                                                                                         7           $449,285.00
       25       Dun & Bradstreet                                                                                                                                           7             $5,746.40
      N/A       Elite Document Technology                                                                                                                                  7             $5,837.30
      N/A       Epiq eDiscovery Solutions                                                                                                                                  7             $9,972.65
      N/A       Eric Girard                                                                                                                                                7            $11,430.14
       47       Fair Harbor Capital, LLC                                          Daniel Sheehan & Associates, PLLC                                                        7            $32,433.75
       33       Fair Harbor Capital, LLC                                          Vengroff Williams, Inc c/o American Arbitration Association                              7            $12,911.80
      N/A       Fair Harbor Capital, LLC                                          Action Shred of Texas                                                                    7             $3,825.00
      N/A       Fair Harbor Capital, LLC                                          CVE Technologies Group Inc.                                                              7             $1,500.00
      247       Federal Insurance Company c/o Chubb                                                                                                                        7               $512.55
      N/A       Felicity Toube QC                                                                                                                                          7             $1,546.65
      N/A       Four Seasons Plantscaping, LLC                                                                                                                             7               $108.95
       37       Franchise Tax Board                                                                                                                                        7            $10,097.27
      N/A       Gardner Haas PLLC                                                                                                                                          7               $522.72
      N/A       Golds Gym International                                                                                                                                    7               $561.75
       62       Golds Texas Holdings Group, Inc                                                                                                                            7             $1,245.35
      N/A       Greenwood Office Outfitters                                                                                                                                7             $2,371.07
      N/A       Greyline Solutions                                                                                                                                         7            $11,250.00
      N/A       Harder LLP                                                                                                                                                 7             $5,464.13
       99       Hunton Andrews Kurth LLP                                                                                                                                   7           $677,075.65
      N/A       ICE Data Pricing & Reference Data, LLC                                                                                                                     7             $1,565.23
      201       Integra FEC LLC                                                                                                                                            7             $3,953.00
      N/A       Intralinks                                                                                                                                                 7             $7,995.00
      N/A       JAMS, Inc                                                                                                                                                  7             $1,352.27
       96       Legalpeople LLC                                                                                                                                            7            $34,245.72
      N/A       Levinger PC                                                                                                                                                7             $3,778.01
      N/A       Lexitas                                                                                                                                                    7             $2,583.66
       14       Loews Coronado Bay                                                                                                                                         7            $57,628.65
      148       MCS Capital LLC c/o STC, Inc.                                     Lynn Pinker Cox & Hurst, LLP now known as Lynn Pinker Hurst Schwegman, LLP               7           $458,233.22
       58       Meta‐e Discovery, LLC                                                                                                                                      7           $779,969.84
      N/A       Nick Meserve                                                                                                                                               7               $300.00
       86       NWCC, LLC                                                                                                                                                  7           $380,682.63
       10       Opus 2 International Inc                                                                                                                                   7            $39,214.00
       83       Oracle America, Inc., Successor in Interest to Sun Microsystems                                                                                            7             $1,714.45
      N/A       PACER Service Center                                                                                                                                       7               $435.30
      N/A       Pitney Bowes‐ Purchase Power                                                                                                                               7             $1,611.00
       24       Pivotal Research Group LLC                                                                                                                                 7             $2,500.00
      N/A       ProStar Services, Inc                                                                                                                                      7             $1,064.58
       36       Refinitiv                                                                                                                                                  7             $2,798.25
      N/A       Reid Collins & Tsai                                                                                                                                        7           $258,526.25
       30       Ryan P. Newell (Connolly Gallagher LLP)                                                                                                                    7           $166,062.22


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Highland Capital Management, L.P.
Allowed Claims [1]

                                                                                                                                                                                 Distribution      Claim
    Claim No.                                 Claimant Name                                                                                 Transferor                               Class      Amount [2][3]
       N/A          Scott Douglass & McConnico LLP                                                                                                                                     7             $1,478.59
       N/A          Secured Access Systems, LLC                                                                                                                                        7                $24.37
       N/A          Southland Property Tax Consultants, Inc                                                                                                                            7               $309.11
       N/A          Squire Patton Boggs (US) LLP                                                                                                                                       7             $5,208.40
       N/A          State Street Global Exchange                                                                                                                                       7             $2,500.00
       166          Stinson Leonard Street LLP                                                                                                                                         7           $645,155.15
       N/A          Thomson West                                                                                                                                                       7             $1,158.52
       N/A          UPS Supply Chain Solutions                                                                                                                                         7                $90.45
       N/A          Wakefield Quin                                                                                                                                                     7             $2,334.80
        53          Wilks, Lukoff & Bracegirdle, LLC                                                                                                                                   7             $3,411.87
       N/A          Xerox Corporation                                                                                                                                                  7             $2,348.31
       N/A          Contrarian Funds, LLC                                                         DLA Piper LLP (US)                                                                   7         $1,000,000.00

[1] Following payment of an Allowed Claim, the Reorganized Debtor or the Claimant Trust, as applicable, may subsequently be reimbursed, in whole or in part,
   for such payment by the Managed Funds, current or former related entities, or current or former affiliated entities.
[2] All Claims have been Allowed in the amounts set forth in the Debtor’s schedules, the Claimant’s proof of claim, or as otherwise ordered or agreed. Allowed Claims in
   in Class 7 will receive distributions equal to 85% of their Allowed Claims.
[3] Certain Claims have previously been paid in full. No duplicate payments will be made on such Claims.




In re Highland Capital Management, L.P.
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